                                      Case 18-12394-KJC                 Doc 1        Filed 10/24/18           Page 1 of 16

 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

 DISTRICT OF DELAWARE

 Case number (if known)                                                      Chapter      11
                                                                                                                           I=1 Check if this an
                                                                                                                               amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                              4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


 1.   Debtor's name                NSC Wholesale Holdings LLC

2.    All other names debtor
      used in the last 8 years
      Include any assumed
      names, trade names and
      doing business as names

3.    Debtor's federal
      Employer Identification      26 - 3886210
      Number (EIN)


4.    Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                  business

                                   111 Hempstead Turnpike
                                   West Hempstead, NY 11552
                                   Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                   Nassau                                                         Location of principal assets, if different from principal
                                   County                                                         place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.    Debtor's website (URL)       nwlshop.com


6.    Type of debtor
                                   • Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                   1:1 Partnership (excluding LLP)
                                   0 Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                                        Case 18-12394-KJC                      Doc 1          Filed 10/24/18                Page 2 of 16

 Debtor      NSC Wholesale Holdin gs                                                                         Case number   (if known)
             Name


 7.    Describe debtor's business           A. Check one:
                                            O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                            O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                            O Railroad (as defined in 11 U.S.C. § 101(44))
                                            CI Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                            O Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                            O Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                            •    None of the above

                                            B. Check all that apply
                                            0 Tax-exempt entity (as described in 26 U.S.C. §501)
                                            O Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                            O Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                            See http://www.uscourts.qov/four-digit-national-association-naics-codes.
                                                      4539

8. Under which chapter of the            Check one:
    Bankruptcy Code is the
    debtor filing?                       O Chapter 7
                                         O Chapter 9

                                         •       Chapter 11. Check all that apply:
                                                                  O    Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                       are less than $2,566,050 (amount subject to adjustment on 4101119 and every 3 years after that).
                                                                  O    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                       business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                       statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                       procedure in 11 U.S.C, § 1116(1)(B).
                                                                  O   A plan is being filed with this petition.
                                                                  O   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                      accordance with 11 U.S.C. §1126(b).
                                                                  O   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                      Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                      attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                      (Official Form 201A) with this form.
                                                                  O   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                        O Chapter 12



9. Were prior bankruptcy
                                        •       No.
    cases filed by or against
    the debtor within the last 8        0 Yes.
    years?
      If more than 2 cases, attach a
      separate list.                                  District                                 When                                 Case number
                                                      District                                 When                                 Case number

10. Are any bankruptcy cases            0 No
    pending or being filed by a
    business partner or an              •       Yes
    affiliate of the debtor?
      List all cases. If more than 1,
      attach a separate list                          Debtor     (See attached)                                                   Relationship
                                                      District                               When                                 Case number, if known




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                                       Case 18-12394-KJC                     Doc 1         Filed 10/24/18             Page 3 of 16
 Debtor     NSC Wholesale Holdings LLC                                                                  Case number (if known)
            Name


 11. Why is the case filed in     Check all that apply:
       this district?
                                   •         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                             preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                  •          A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

 12. Does the debtor own or       •     No
     have possession of any
     real property or personal    0 Yes.         Answer below for each property that needs immediate attention. Attach additional sheets if needed.
     property that needs
     immediate attention?                        Why does the property need immediate attention? (Check all that apply.)
                                                 O It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                    What is the hazard?
                                                 O It needs to be physically secured or protected from the weather.
                                                 O It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                   livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                 O Other
                                                Where is the property?
                                                                                  Number, Street, City, State & ZIP Code
                                                Is the property insured?
                                                •   No
                                                0 Yes. Insurance agency
                                                           Contact name
                                                           Phone


           Statistical and administrative information

13.   Debtor's estimation of                  Check one
      available funds
                                              • Funds will be available for distribution to unsecured creditors.
                                              0 After any administrative expenses are paid, no funds will be available to unsecured creditors.

14.   Estimated number of
      creditors
                                  0 1-49                                              o 1,000-5,000                               0 25,001-50,000
                                       50-99                                          0 5001-10,000                               0 50,001-100,000
                                  o    100-199                                        0 10,001-25,000                             0 More than100,000
                                  • 200-999

15.   Estimated Assets            0 $0 - $50,000                                      0 $1,000,001 - $10 million                  0   $500,000,001 - $1 billion
                                    $50,001 -$100,000                                 • $10,000,001 -$50 million                  0   $1,000,000,001 - $10 billion
                                  0 $100,001 -$500,000                                0 $50,000,001 -$100 million                 0   $10,000,000,001 - $50 billion
                                  0 $500,001 - $1 million                             0 $100,000,001 -$500 million                0   More than $50 billion

16.   Estimated liabilities      0     $0 - $50,000                                      $1,000,001 - $10 million                 0 $500,000,001 - $1 billion
                                 0     $50,001 -$100,000                              • $10,000,001 - $50 million                 0 $1,000,000,001 -$10 billion
                                 0     $100,001 -$500,000                             0 $50,000,001 -$100 million                     $10,000,000,001 -$50 billion
                                 0     $500,001 - $1 million                          0 $100,000,001 -$500 million               0 More than $50 billion




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
                       Case 18-12394-KJC                                Doc 1             Filed 10/24/18                     Page 4 of 16




Debtor     NSC Wholesale Holdings LLC                                                              Case number Orknown)
           Memo



           Request for Relief, Declaration, and Signatures


WARNING — Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized
                                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      J cLI             I




                                                                                                         Scott Rosen
                                 Sign    e of authorized representative of debtor                        Printed name
                                 Title   CEO




18. Signature of attorney                                                                                 Date I          - L4 - is
                                   gnature of atto ne       ebtor                                                MM / DD / YYYY

                                 Mark Minuti
                                 Printed name

                                 Saul Ewing Arnstein & Lehr LLP
                                 Firm name

                                 1201 North Market Street
                                 Suite 2300
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     302 -421 - 6800               Email address      mark.minuti@saul.com

                                 2659 DE
                                 Bar number and State




Official Form 201
                                         Voluntary Petition for Non-Individuals Filing for Bankruptcy
                                                                                                                                                          page 4
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                                         Pending Bankruptcy Cases Filed
                                    By the Debtor and Affiliates of the Debtor

                The following affiliated debtors contemporaneously have filed chapter 11 petitions in the

  United States Bankruptcy Court for the District of Delaware:



                         Affiliated Debtors:

                         1. NSC Wholesale Holdings LLC [Lead Case]

                         2. National Wholesale Liquidators of Lodi, Inc.

                         3. NSC Realty Holdings LLC

                         4. NSC of West Hempstead, LLC

                         5. Top Key LLC

                         6. BP Liquor LLC

                         7. Teara LLC




2,1894805.1 10/22/2018
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                           NSC WHOLESALE HOLDINGS LLC

                        WRITTEN CONSENT OF SOLE MANAGER

             The undersigned, being the sole manager (the "Manager") of NSC Wholesale

 Holdings LLC, a Delaware limited liability company (the "Company"), in accordance

 with and pursuant to the Delaware Limited Liability Company Act, and without formality

 of convening a meeting, consents to the adoption of the following resolutions:

         WHEREAS, the Manager has reviewed the financial records of the Company,
 has considered the business and financial condition of the Company, and is aware of the
 assets, liabilities, potential liabilities and liquidity of the Company; and has had the
 opportunity to consult with the management and advisors of the Company and fully
 considered all of the strategic alternatives available to the Company; and

          WHEREAS, as a result of the Company's current financial situation, it appears
 that it may be necessary to file for reorganization of the Company under chapter 11 (the
 "Bankruptcy") of title 11 of the United States Code (the "Bankruptcy Code") in the
 United States Bankruptcy Court for the District of Delaware (the "Bankruptcy Court"),

AUTHORIZATION TO FILE VOLUNTARY PETITION UNDER CHAPTER 11

       IT IS THEREFORE, RESOLVED, that the Manager has determined in his
judgment that it may be desirable and in the best interests of the Company, its creditors
and other interested parties to commence the Bankruptcy; and

        FURTHER RESOLVED, that Scott Rosen and Michael Gold (the "Authorized
Officers"), alone or with one or more other Authorized Officers and/or other officers be,
and hereby are, authorized and empowered to execute and file on behalf of the Company
all petitions, schedules, lists, motions, applications, pleadings and other papers or
documents as necessary to commence the Bankruptcy, and to take any and all further acts
and deeds that they deem necessary, proper and desirable in connection with the
Bankruptcy, with a view to the successful prosecution of such case; and

       FURTHER RESOLVED, that the law firm of Saul Ewing Amstein & Lehr LLP
is hereby engaged as the attorneys for the Company under general retainer in the
Bankruptcy, subject to any requisite bankruptcy court approval; and

        FURTHER RESOLVED, that the firms of Getzler Henrich & Associates LLC
and SSG Advisors, LLC are hereby engaged as financial advisor and investment banker,
respectively, for the Company in the Bankruptcy, subject to any requisite bankruptcy
court approval; and




24895095.2
     Case 18-12394-KJC                 Doc 1        Filed 10/24/18             Page 7 of 16




          FURTHER RESOLVED, that the firm of Omni Management Group, Inc. is
  hereby engaged as the claims and noticing agent for the Company in the Bankruptcy,
  subject to any requisite bankruptcy court approval; and

          FURTHER RESOLVED, that the Authorized Officers be, and each of hereby is,
  authorized and empowered to, in the name and on behalf of the Company, to retain or
  continue to employ such other professionals as they deem necessary, proper or desirable
  during the course of the Bankruptcy, subject to any requisite bankruptcy court approval

  RATIFICATION OF ALL PRIOR AND FUTURE ACTIONS

        IT IS THEREFORE, RESOLVED, that in addition to the specific
 authorizations heretofore conferred upon the Authorized Officers, each of the Authorized
 Officers or their designees shall be, and each of them, acting alone, hereby is, authorized
 and empowered, in the name of, and on behalf of the Company, to take or cause to be
 taken any and all such further actions, to execute and deliver any and all such
 agreements, certificates, instruments, and other documents and to pay all expenses,
 including filing fees, in each case as in such officer or officers' judgment shall be
 necessary or desirable to fully carry out the intent and accomplish the purposes of the
 foregoing resolutions; and

          FURTHER RESOLVED, that all acts, actions and transactions relating to the
 matters contemplated by the foregoing resolutions done in the name of and on behalf of
 the Company, which acts would have been approved by the foregoing resolutions except
 that such acts were taken before these resolutions were certified, are hereby in all respects
 ratified and approved; and

        FURTHER RESOLVED, that these resolutions shall be filed with the records of
 the Company.

        IN WITNESS WHEREOF, the undersigned Manager hereby evidences his
written consent to the foregoing resolutions effective as of this day of October, 2018.

NSC WHOLESALE HOLDINGS LLC



By:
Scott Os -n, ole Manager




24995095.2
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    Debtor name       NSC Wholesale Holdings, LLC, et al.

    UNITED STATES BANKRUPTCY COURT DISTRICT OF DELAWARE
    Case No. (If known)


Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                                                                                                                           12/15
A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

    Name of creditor and complete             Name, telephone number, and                Nature of the       Indicais
                                                                                                                    te if      Amount of unsecured claim
                                                                                                             claim
    mailing address, including zip            email address of creditor contact          claim                                 If the claim is fully unsecured, fill in only
                                                                                                             contingent,
    code.                                                                                (for example,       unliquidated,     unsecured claim amount. If claim is partially
                                                                                         trade debts, bank   or disputed       secured, fill in total claim amount and
                                                                                         loans,                                deduction for value of collateral or setoff to
                                                                                         professional                          calculate unsecured claim.
                                                                                         services, and
                                                                                         government
                                                                                         contracts)                          Total Claim, if    Deduction         Unsecured claim
                                                                                                                             partially          for value of
                                                                                                                             secured            collateral or
                                                                                                                                                setoff


1     Arett Sales Corp.                      Arett Sales Corp.                           Trade Debt                                                                     $3,445,587.00
      Attn: Cathy Schappert                  Tel: 800-257-8220
      9285 Commerce Hwy                      Fax: 856-751-0604
      Pennsauken, NJ 08110                   Email: cschappert@arett.com




2     Lodi UE LLC                            Lodi UE LLC                                 Rent/Tax                                                                       $1,091,498.00
      Attn: William Yingling                 Tel: 201-571-3500
      P.O. Box 645308                        Email: wyingling@uedge.com
      Pittsburgh, PA 15264




3     G&C Hempstead Realty                   G&C Hempstead Realty                        Rent/Tax                                                                         5885,432.00
      Attn: Carol Baker                      Tel: 561-482-6604
      306 Brentford Rd                       Email: carol@bakerstein.net
      Haverford, PA 19041




4     Citi Cards                             Citi Cards                                  Trade Debt                                                                       $866,977.00
      Attn: Bill Streit                      Tel: 303-728-8497
      P.O. Box 9001016                       Email: william.g.streit@citi.corn
      Louisville, KY 40290-1016




5     NKG Properties LLC                     NKG Properties LLC                          Rent/Tax                                                                         $604,174.00
      Attn: Michael Blaymore                 Tel: 516-678-3782
      68 Box Mountain Dr                     Email: mblaymore@sgnblaw.com
      Vernon, CT 06066




Official Form 204                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                 Page 1
                                       Case 18-12394-KJC                     Doc 1      Filed 10/24/18                   Page 9 of 16



    Debtor name      NSC Wholesale Holdings, LLC, et al.                                                    Case No. (If known)


                                                                         (Continuation Sheet)

    Name of creditor and complete            Name, telephone number, and             Nature of the       Indicate if       Amount of unsecured claim
                                                                                                         claim is
    mailing address, including zip           email address of creditor contact       claim               contingent,      If the claim is fully unsecured, fill in only
    code.                                                                            (for example,       unliquidated.    unsecured claim amount. If claim is partially
                                                                                     trade debts, bank   or disputed      secured, fill in total claim amount and
                                                                                     loans,                               deduction for value of collateral or setoff to
                                                                                     professional                         calculate unsecured claim.
                                                                                     services, and
                                                                                     government
                                                                                                                         Total Claim, if   Deduction         Unsecured claim
                                                                                     contracts)
                                                                                                                         partially         for value of
                                                                                                                         secured           collateral or
                                                                                                                                           setoff


6     3500 48th St. Owner LLC                3500 48th St. Owner LLC                 Rent/Tax                                                                        $450,453.00
      Attn: Sheila Chess                     Tel: 212-545-1100
      295 Madison Ave, 2nd Fl.               Email: schess@pihc.com
      New York, NY 10017




7     River Dr Construction                  River Dr Construction                   Rent/Tax                                                                        $428,954.00
      Attn: Barbara Dunn                     Tel: 718-275-4600
      99-25 Queens Blvd                      Fax: 718-830-0281
      Queens, NY 11374




8     Plaza Co-Op City LLC                  Plaza Co-Op City LLC                     Rent/Tax                                                                        $406,378.00
      Attn: Lisa Rosenshein                 Tel: 914-698-3600
      555 South Barry Ave                   Email:
      Mamaroneck, NY 10543                  Irosenshein@rosensheinassocs.com




9     CBA Industries Inc                    CBA Industries Inc                       Other Debt                                                                      8331,519.00
      Attn: Harold Metzner                  Tel: 201-587-1717
      669 River Dr                          Fax: 201-414-5203
      P.O. Box 1717                         Email: hbmatzner@cbaol.com
      Elmwood, NJ 07407-1717




10 Krasdale Foods                           Krasdale Foods                           Trade Debt                                                                      $301,105.00
   Attn: lvette Malave                      Tel: 914-697-5365
   400 Food Center Dr                       Email: imalave@krasdalefoods.com
   Bronx, NY 10474




11   Ningbo Ego Intl Co.                    Ningbo Ego Intl Co.                      Trade Debt                                                                     $293,656.00
     Attn: John Jiang                       Tel: 865-748-8123
     3F No 168 Songjiang E Rd               Fax: 86-574-88123988
     Yinzhou Area, Ningbo                   Email: jhui@ego-global.com
     China




Official Form 204                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                             Page 2
                                   Case 18-12394-KJC                       Doc 1    Filed 10/24/18                     Page 10 of 16



Debtor name      NSC Wholesale Holdings, LLC, et al.                                                      Case No. (If known)


                                                                     (Continuation Sheet)

Name of creditor and complete                                                      Nature of the       Indicate if       Amount of unsecured claim
                                          Name, telephone number, and                                  claim is
mailing address, including zip            email address of creditor contact        claim               contingent,       If the claim is fully unsecured, fill in only
code.                                                                              (for example,       unliquidated,     unsecured claim amount. If claim is partially
                                                                                   trade debts, bank   or disputed       secured, fill in total claim amount and
                                                                                   loans,                                deduction for value of collateral or setoff to
                                                                                   professional                          calculate unsecured claim.
                                                                                   services, and
                                                                                   government
                                                                                                                       Total Claim, if    Deduction         Unsecured claim
                                                                                   contracts)
                                                                                                                       partially          for value of
                                                                                                                       secured            collateral or
                                                                                                                                          setoff


12 King Zak                               King Zak                                 Trade Debt                                                                       $285,494.00
   Attn: Herb Zaarkin                     Tel: 800-462-7563
   3 Police Dr                            Fax: 845-291-7338
   P.O. Box 1029                          Email: hzakarine@kingzak.com
   Goshen, NY 10924




13 Staples Inc                            Staples Inc                              Rent/Tax                                                                         $245.375.00
   Attn: Michael ConeIly                  Tel: 508-253-8675
   500 Staples Dr                         Email: mike.connolly@staples.com
   Framingham, MA 01701




14 Home Easy                              Home Easy                                Trade Debt                                                                       $233,163.00
   Attn: Scott Lewis                      Tel: 973-818-8899
   1275 Bloomfield Ave                    Fax: 973-808-8877
   Fairfield, NJ 07004                    Email: sd18257@gmail.com




15 United Cartage LLC                     United Cartage LLC                       Other Debt                                                                       $207,040.00
   Attn: Sukhdev Singh                    Tel: 516-902-8524
   6 Laurie Lane                          Fax: 732-442-3809
   Edison, NJ 08818                       Email: bittu@shopnwl.com




16 Briars Trading                         Briars Trading                           Trade Debt                                                                       $206,195.00
   Attn: Larry Silverstein                Tel: 610-834-1116
   70 Portland Rd                         Fax: 212-904-1768
   W. Conshohocken, PA 19428              Email: larry@briaratrading.com




17 Buffalo Newspress Inc                  Buffalo Newspress Inc                    Other Debt                                                                       $197,718.00
   Attn: Wayne Wawrzyniec                 Tel: 716-852-1600
   200 Broadway                           Fax: 716-856-2017
   Buffalo, NY 14204                      Email: w.wawrzyniec@buffnewspress.com




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                  Page 3
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 Debtor name        NSC Wholesale Holdings, LLC, et al.                                                  Case No. (If known)


                                                                       (Continuation Sheet)

Name of creditor and complete              Name, telephone number, and            Nature of the       Indicate if       Amount of unsecured claim
                                                                                                      claim is
mailing address, including zip             email address of creditor contact      claim               contingent,       If the claim is fully unsecured, fill in only
code.                                                                             (for example,       unliquidated,     unsecured claim amount. If claim is partially
                                                                                  trade debts, bank   or disputed       secured, fill in total claim amount and
                                                                                  loans,                                deduction for value of collateral or setoff to
                                                                                  professional                          calculate unsecured claim.
                                                                                  services, and
                                                                                  government
                                                                                                                      Total Claim,
                                                                                                                                m, if    Deduction         Unsecured claim
                                                                                                                      partially          for value of
                                                                                                                      secured            collateral or
                                                                                                                                         setoff


18 Liberty Distributors Inc.               Liberty Distributors Inc.              Trade Debt                                                                       $191,687.00
   Attn: Edmund Guindy                     Tel: 718-417-7676
   1065 Shepherd Ave                       Fax: 718-417-9829
   Brooklyn, NY 11208




19 Wal-Mart Stores East                    Wal-Mart Stores East                   Rent/Tax                                                                         $184,539.00
   Attn: Debbie Klossner                   Tel: 479-204-0011
   2001 SE 10th St                         Email: debbie.klossner@walmart.com
   Bentonville, AR 72716




20   CL Sales Corp.                       CL Sales Corp,                          Trade Debt                                                                       5180,728.00
     Attn: Joe Lati                       Tel: 718-797-3917
     1419 East 2nd St                     Fax: 917-652-4389
     Brooklyn, NY 11230




Official Form 204              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                             Page 4
                     Case 18-12394-KJC                                Doc 1                   Filed 10/24/18             Page 12 of 16




   Fill in this information to identify the case and this filing:


   Debtor Name
                  NSC Wholesale Holdings LLC

   United States Bankruptcy Court for the                              District of   DE
                                                                                     (Seto)
   Case number yr:snows):




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

  An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
  this fonn for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
• and any amendments of those documents. This form must state the Individual's position or relationship to the debtor, the identity of the
  document, and the date. Bankruptcy Rules 1008 and 9011.

 WARNING-- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
 connection with a bankruptcy case
                                   can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
 1519, and 3571.



               Declaration and signature




          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
          another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          O      Schedule NB: Assets—Real and Personal Property (Official Form 206A/8)

          CI     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          CI     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          O      Schedule 0: Executory Contracts and Unexpired Leases (Official Form 20601

          O      Schedule H: Codebtors (Official Form 206H)

          O      Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

          O     Amended      Schedule


          2( Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          O     Other document that requires a declaration




          I declare under penalty of perjury that the foregoing is true and correct.


         Executed on
                            MM / DD / nosy
                                                                  Signature s Individual signing on behalf of debtor



                                                                    Scott Rosen
                                                                  Printed name

                                                                   Chief Executive Officer
                                                                  Position or relattonship to debtor



Official Form 202
                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
                           Case 18-12394-KJC        Doc 1        Filed 10/24/18     Page 13 of 16



                               IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE DISTRICT OF DELAWARE

                                                             )



In re:                                                       ) Chapter 11
                                                             )
NSC WHOLESALE HOLDINGS LLC, et                               ) Case No. 18-
                                                             )
                                      Debtors.               ) Jointly Administered
                                                             )
                                                             )

                                 STATEMENT OF CORPORATE OWNERSHIP

          Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
  the following is a list of any corporation, other than a governmental unit, that directly or
  indirectly owns 10% or more of any class of equity interests in the above-captioned debtors.

                        Debtor Name                      Corporate Owner(s) Name (% of Units Owned)


         NSC Wholesale Holdings LLC                                      No corporate owner




             The Debtors in these cases, along with the last four digits of each Debtor's federal tax identification
             number, are: NSC Wholesale Holdings LLC (6210); National Wholesale Liquidators of Lodi, Inc. (4301);
             NSC Realty Holdings LLC (4779); NSC of West Hempstead, LLC (5582); Top Key LLC (7503); BP
             Liquor LLC (2059); and Teara LLC (8660). The Debtors' mailing address is 111 Hempstead Turnpike,
             West Hempstead, NY 11552.




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  Fill in this information to identify the case and this filing:


   Debtor Name    NSC Wholesale Holdings LLC
   United States BanKruptcy Court for the:                            District of   DE

   Case number   (If known):




 Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                     12115
 An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
 this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
 and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
 document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING — Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or Imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



               Declaration and signature




          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership;   or
          another individual serving as a representative of the debtor in this case,

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


          LI     Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

          LI     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

          O      Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

          O      Schedule G: Executory Contracts and Unexpired Leases (Official Form 2060)

          O      Schedule H: Codebtors (Official Form 206H)

          O      Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

          O     Amended Schedule


          O      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

          O     Other document that requires a declaration    1007(a)(1) Corporate Ownership Statement




         I declare under penalty of perjury that the foregoing is true and correct.


         Executed on
                                 t
                           IL 'ati
                               Mm /DD/                           Signature      ndivi ual signing on behalf of debtor



                                                                   Scott Rosen
                                                                 Printed name


                                                                   Chief Executive       Officer
                                                                 Position or relationship to debtor



Official Form 202
                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
                        Case 18-12394-KJC           Doc 1        Filed 10/24/18     Page 15 of 16



                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE

                                                             )


In re:                               ) Chapter 11
                                     )
NSC WHOLESALE HOLDINGS LLC, et al.,' ) Case No. 18-
                                     )
                    Debtors.         ) Jointly Administered
                                     )
                                     )

                                  LIST OF EQUITY SECURITY HOLDERS

        Following is the list of equity security holders of Debtor NSC Wholesale Holdings LLC,
 prepared in accordance with Fed, R. Bankr. P. 1007(a)(3) for filing in this chapter 11 case:


                   Name of Holder                    Percent of Equity                   Kind of Interest
 Eva Rosen Trust FBO Scott Rosen                            33.34%                     Membership Interest
  Eva Rosen Trust FBO Carrie Rosen                          33,33%                     Membership Interest
 Eva Rosen Trust FBO Neil Rosen                             33.33%                     Membership Interest




             The Debtors in these cases, along with the last four digits of each Debtor's federal tax identification
             number, are: NSC Wholesale Holdings LLC (6210); National Wholesale Liquidators of Lodi, Inc. (4301);
             NSC Realty Holdings LLC (4779); NSC of West Hempstead, LLC (5582); Top Key LLC (7503); BP
             Liquor LLC (2059); and Teara LLC (8660). The Debtors' mailing address is 111 Hempstead Turnpike,
             West Hempstead, NY 11552.




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Case 18-12394-KJC                              Doc 1             Filed 10/24/18                        Page 16 of 16




     Fill in this information to identify the case and this filing:


     Debtor Name
                          NSC Wholesale Holdings LLC
     United States Bankruptcy Court for the:                                  District of    DE
                                                                                            pate)
     Case number (if homes):




    Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12115
    An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
    this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
    and any amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the
    document, and the date. Bankruptcy Rules 1008 and 9011.

    WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
    connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,
    1519, and 3571.



                      Declaration and signature




                I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
                another individual serving as a representative of the debtor in this case.

                I   have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


                U       Schedule A/B: Assets—Real and Personal Property (Official Form 206A/B)

                U       Schedule D: Creditors Who Have Claims Secured by Property (Official Form 2060)

                U       Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

                U       Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

                U       Schedule H: Codebtors (Official Form 206H)

                U       Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

                U       Amended Schedule


                U       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

                                                                       1007(a)(3) List of Equity Security Holders
                d       Other document that requires a declaration




            I       declare under penalty of perjury that the foregoing is true and correct.


            Executed on 1 0                   1(:S'                  X
                                 MM! DD / rlfYY                           Signature • individual signing on behalf of debtor



                                                                           Scott Rosen
                                                                          Printed name

                                                                          Chief Executive Officer
                                                                          Position or relationship to debtor



   Official Form 202                                  Declaration Under Penalty of Perjury for Non-Individual Debtors
